               Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                :      Case No. 21-CR-206 (RDM)
                                                        :
                   v.                                   :
                                                        :
JONATHAN MELLIS,                                        :
                                                        :
                                  Defendant.            :


                                    STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Jonathan MELLIS,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                          The Attack at the U.S. Capitol on January 6, 2021

          1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
             Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 2 of 7




Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $$2.8 million dollars for repairs.




                                                 2
            Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 3 of 7




       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

               Jonathan Mellis’ Participation in the January 6, 2021, Capitol Riot

       8.       MELLIS traveled to Washington, D.C. on January 6, 2021 to attend the “Stop the

Steal” rally, which was organized to protest the result of the presidential election. As the “Stop the

Steal” rally was finishing, MELLIS joined a large crowd at the Capitol, where the Joint Session to

certify the Electoral College vote was underway—a fact of which MELLIS was aware.

       9.       MELLIS unlawfully entered the Capitol grounds. While there, MELLIS recorded

and posted on videos to Instagram in which MELLIS stated, “We ain’t fucking leaving either! We

ain’t fucking leaving!” and “So you ever wonder where they do the inaugurations? I beat Joe Biden

here. That mother****** will never come up here. We’re banging on the goddamn doors, is what

we’re doing. Storming the fucking castle.”

       10.      MELLIS subsequently went to the Lower West Terrace area of the Capitol where

MELLIS used a large wooden stick, to repeatedly strike or stab at Officers D.P. and L.M. MELLIS




                                                  3
         Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 4 of 7




was not acting in self-defense at the time he used that weapon to repeatedly strike or stab at Officers

D.P. and L.M., in the face, head, neck, and body area. See below photos.


    MELLIS (in White Cowboy Hat) Striking Law Enforcement Officers with weapon/stick):




                                                  4
         Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 5 of 7




MELLIS (in White Cowboy Hat)( Stabbing at Law Enforcement Officers with a stick):




                                             5
          Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 6 of 7




        11.     MELLIS violently attacked at Officers D.P. and L.M., in the face, head, neck, and

body area. He used physical violence against at Officers D.P. and L.M. who were protecting the

entrance of the Lower West Terrace of the U.S. Capitol Building, and his individual participation in the

larger mob heightened the overall violence and dangerousness of the day.

                                      Elements of the Offense

        12.     The defendant forcibly Assaulting, Resisting, or Impeding Certain Officers Using

a Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b) while engaged in or on

account of the performance of their official duties. Specifically, the defendant admits that he (1)

forcibly assaulted MPD Officers D.P. & L.M.; (2) used a deadly or dangerous weapon; (3) on

officers who were assisting the United States Capitol Police; and (4) the defendant further admits

that he knew at that time of the assault of the officers that the officers were engaged in the

performance of their official duties and that he assaulted the officers on account of their

performance of their official duties, and where the acts in violation of this section involve

physical contact with the victim and the intent to commit another felony.



                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY


                                        By:      /s/ Emory V. Cole
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                                                   6
Case 1:21-cr-00206-RDM Document 51 Filed 06/12/23 Page 7 of 7
